      Case 4:19-cv-07123-PJH Document 293 Filed 02/28/24 Page 1 of 4



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15                              UNITED STATES DISTRICT COURT
16
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                       OAKLAND DIVISION
18
      WHATSAPP LLC, and                 )
19    META PLATFORMS, INC.,             )         Case No. 4:19-cv-07123-PJH
20                                      )
                      Plaintiffs,       )         PLAINTIFFS’ OPPOSITION TO
21                                      )         DEFENDANTS’ MOTION FOR
             v.                         )         ISSUANCE OF LETTER ROGATORY
22                                      )
                                                  Date:    March 28, 2024
      NSO GROUP TECHNOLOGIES LIMITED )            Time:    1:30 p.m.
23
      and Q CYBER TECHNOLOGIES LIMITED, )         Ctrm:    3
24                                      )         Judge:   Hon. Phyllis J. Hamilton
                      Defendants.       )
25                                      )         Action Filed: October 29, 2019
                                        )
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          Case 4:19-cv-07123-PJH Document 293 Filed 02/28/24 Page 2 of 4



1             Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) respectfully submit this

2    memorandum of points and authorities in opposition to Defendants NSO Group Technologies Ltd.

3    and Q Cyber Technologies Ltd.’s (“NSO”) motion for issuance of a letter rogatory to the Ontario

4    Superior Court of Justice seeking information from The Citizen Lab at the Munk School of Global

5    Affairs and Public Policy of the University of Toronto (“Citizen Lab”). By its terms, NSO’s pro-

6    posed letter rogatory requests post-complaint communications between Plaintiffs and Citizen Lab

7    that this Court already deemed irrelevant in its February 23, 2024 order. See Dkt. No. 292. NSO

8    should not be permitted to circumvent that order and burden a foreign non-party with requests for

9    irrelevant discovery. The motion should be denied with respect to those requests. 1

10   I.       BACKGROUND

11            On December 22, 2023, NSO moved to compel Plaintiffs to produce post-complaint com-
12   munications between Plaintiffs and Citizen Lab. See Dkt. No. 239-2 at 9; see also Dkt. No. 257-
13   2 at 7–9. Prior to the hearing on that motion, on February 14, 2024, NSO filed this motion for
14   issuance of a letter rogatory to obtain documents from Citizen Lab, including post-complaint com-
15   munications between Plaintiffs and Citizen Lab. See Dkt. No. 288. On February 23, 2024, the
16   Court denied NSO’s motion to compel Plaintiffs to produce their post-complaint communications
17   with Citizen Lab. Dkt. No. 292 at 5–6. The Court concluded that NSO had “not shown how the
18   requested discovery is warranted under Rule 26(b)(1),” because “the ‘civil society’ allegation ap-
19   pears to be an ancillary part of this case.” Id. “On that basis, the court fails to see the relevance
20   of the requested discovery, and thus, denies defendants’ motion to the extent that it seeks post-
21   complaint communications between plaintiffs and Citizen Lab.” Id.
22   II.      ARGUMENT
23            Whether to issue a letter rogatory “is a matter of discretion for the court.” Asis Internet
24   Servs. v. Optin Glob., Inc., No. C-05-05124 JCS, 2007 WL 1880369, at *3 (N.D. Cal. June 29,
25   2007). “Ultimately, a court’s decision whether to issue a letter rogatory requires an application of
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       Plaintiffs’ counsel informed NSO’s counsel of their limited opposition to NSO’s request, and
     offered to confer regarding whether NSO was willing to amend or narrow its proposed letter rog-
28   atory in light of the Court’s February 23, 2024 order. By the time of this filing on the due date
     for opposition, NSO had not responded.
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     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 293 Filed 02/28/24 Page 3 of 4



1    Rule 28(b) in light of the scope of discovery provided for by the Federal Rules of Civil Procedure.”

2    Id. “The party seeking to pursue discovery through the Hague Evidence Convention bears the

3    burden of demonstrating that proceeding in that manner is ‘necessary and appropriate.’” Metso

4    Mins. Inc. v. Powerscreen Int’l Distribution Ltd., No. CV 06-1446 ADS ETB, 2007 WL 1875560,

5    at *2 (E.D.N.Y. June 25, 2007).

6           NSO’s proposed letter rogatory seeks post-complaint communications between Plaintiffs

7    and NSO, because it requests documents “created, sent, or received between January 1, 2016 and

8    the present,” Dkt. No. 288-1 at 16, including all documents and communications sent between

9    Plaintiffs and Citizen Lab, id. (Request No. 2). To the extent the proposed letter seeks such post-

10   complaint communications, NSO’s motion should be denied. The Court has already concluded

11   that NSO cannot seek this information from Plaintiffs themselves. The Court’s February 23, 2024

12   order concluded these communications were not relevant, because Citizen Lab’s work with Plain-

13   tiffs “appears to be an ancillary part of the case.” Dkt. No. 292 at 6. Having already ruled that

14   post-complaint discovery from Citizen Lab is not relevant, the Court should deny NSO’s motion

15   for issuance of a letter rogatory seeking the same information. See Pesch v. Indep. Brewers United
16   Corp., No. C-13-05317 DMR, 2014 WL 5106985, at *2 (N.D. Cal. Oct. 10, 2014) (denying motion
17   for letter rogatory based on lack of relevance).
18          NSO’s central arguments for issuing the letter rogatory are the same as those made in sup-
19   port of the motion to compel it filed against Plaintiffs. For instance, NSO claims it needs discovery

20   to test “the reliability of Citizen Lab’s methods and the credibility of its allegations about NSO
21   and Pegasus.” Dkt. No. 288 at 11; see also Dkt. No. 239-2 at 9 (moving to compel Plaintiffs to
22   produce documents related to “Citizen Lab’s method for investigating uses of Pegasus, its relia-
23   bility and credibility as a witness”). The Court already heard and rejected these arguments. See
24   Dkt. No. 292 at 6. NSO has the output of Citizen Lab’s work for Plaintiffs, as well as a list of the
25   members of civil society who were targeted. NSO should not be permitted to burden both a foreign
26   court and a foreign non-party with requests for more.
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     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 293 Filed 02/28/24 Page 4 of 4



1    III.   CONCLUSION

2           For the foregoing reasons, Plaintiffs respectfully request that the Court deny NSO’s motion
3    for issuance of a letter rogatory.
4
      Dated: February 28, 2024
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     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
